Case 10-93904-BHL-11      Doc 2418     Filed 11/20/13    EOD 11/20/13 12:30:54      Pg 1 of 10




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION

 IN RE:                                           )
                                                  )
 EASTERN LIVESTOCK CO., LLC,                      )     Case No. 10-93904-BHL-11
                                                  )
                      Debtor.                     )

            MOTION TO APPROVE COMPROMISE AND SETTLEMENT
       WITH CHAD SCHUCHMANN D/B/A SCHUCHMANN TRANSPORT D/B/A
                          SCHUCHMANN FARM

          Pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure, James A.

 Knauer, as Chapter 11 trustee ("Trustee") for the bankruptcy estate (“Estate”) of

 Eastern Livestock Co., LLC ("Debtor" or “ELC”), by counsel, hereby files this motion (the

 "Settlement Motion") requesting the Court's approval of a compromise and settlement of

 claims between the Trustee and Chad Schuchmann d/b/a Schuchmann Transport d/b/a

 Schuchmann Farm (“Schuchmann”), pursuant to the terms and conditions set forth in

 the Settlement Agreement and Mutual Release substantially in the form attached hereto

 as Exhibit “A” (the "Settlement Agreement"). In support of this Settlement Motion, the

 Trustee respectfully represents the following:

                                Introduction and Background

          1.    Certain petitioning creditors commenced the above-captioned chapter 11

 case (the "Chapter 11 Case") against the Debtor on December 6, 2010, by filing an

 involuntary petition for relief under chapter 11 of title 11 of the United States Code. This

 Court entered the Order for Relief in An Involuntary Case and Order to Complete Filing

 [Doc. No. 110] on December 28, 2010.
Case 10-93904-BHL-11       Doc 2418     Filed 11/20/13   EOD 11/20/13 12:30:54      Pg 2 of 10




        2.     On December 27, 2010, the Court entered the Order Approving the

 Appointment of James A. Knauer as Chapter 11 Trustee [Doc. No. 102] pursuant to 11

 U.S.C. § 1104.

        3.     On January 25, 2012, the Trustee filed the Trustee's Motion to Approve

 Certain Preference Avoidance Protocols and Terms of Settlement [Doc. No. 977] (the

 "Preference Protocol Motion"). The Court entered its Order Granting Trustee's Motion

 to Approve Certain Preference Avoidance Protocols and Terms of Settlement on

 February 15, 2012 [Doc. No. 1035] (the "Preference Protocol Order"), pursuant to

 which the Court authorized the Trustee to settle the Trade Preferences1 in the sums of

 the Estimated Net Exposure without further order of the Court.

        4.     On December 27, 2012, the Trustee commenced Adversary Proceeding

 No. 12-59155 against Schuchmann and filed his First Amended Complaint on February

 6, 2013.

        5.     Schuchmann was the branch manager of ELC Branch 28 located in Bois

 d’Arc, Missouri and was also a vendor, supplier, customer or otherwise maintained a

 business relationship with ELC or its affiliates.

        6.     The Trustee’s First Amended Complaint sought to avoid and recover for

 the estate alleged preferential transfers from ELC to Schuchmann in the aggregate sum

 of no less than $272,726.90 and, sought, in the alternative to avoid and recover

 fraudulent conveyances from ELC to Schuchmann within two years of the Petition Date

 in the aggregate sum of no less than $336,369.56.

        1
            Capitalized terms not otherwise defined herein shall have the meaning set
 forth in the Preference Protocol Motion.
Case 10-93904-BHL-11      Doc 2418     Filed 11/20/13   EOD 11/20/13 12:30:54      Pg 3 of 10




        7.     In addition, the First Amended Complaint sought to enforce payment on a

 Promissory Note executed by Schuchmann and delivered to the Debtor on or about

 October 1, 2005 in the principal amount of $175,000.00; enforce payment on a

 Promissory Note executed by Schuchmann and delivered to Debtor on or about August

 25, 2010 in the principal amount of $450,649.05; and enforce payment on a Promissory

 Note executed by Schuchmann and delivered to Debtor on or about July 30, 2009 in the

 principal amount of $922,597.45.

                                      The Settlement

        8.     The following is a summary of the key provisions of the Settlement

 Agreement. Parties should refer to the Settlement Agreement for a full explanation of

 the proposed settlement.

        9.     Pursuant to the Settlement Agreement, Schuchmann shall pay to the

 Trustee the total sum of $175,000.00 (one lump sum payment of $50,000.00 with the

 remaining balance of $125,000.00 paid in three (3) yearly installments) (the “Settlement

 Amount”) in full and final settlement and satisfaction of the Released Claims, as that

 term is defined in the Settlement Agreement.

        10.    As security for payment of the Settlement Amount, Schuchmann shall

 execute an agreed judgment against Schuchmann and in favor of the Trustee in the

 amount of Two Million One Hundred Nine Thousand Eight Hundred Forty-Eight and

 12/100 Dollars ($2,109,848.12), which document will be held by counsel for the Trustee

 and will not be filed with the Court or recorded in any county unless and until the

 occurrence of an Event of Default (as defined in Section 1(b) of the Settlement

 Agreement).
Case 10-93904-BHL-11       Doc 2418     Filed 11/20/13    EOD 11/20/13 12:30:54       Pg 4 of 10




        11.    In negotiation of the Settlement Agreement, the Trustee advises that,

 apart from assertion of defenses to the claims and to avoid the cost, expense, and delay

 of litigation, Schuchmann also demonstrated an inability to pay any substantial

 judgment against him. The collection issue ultimately became the central and

 overwhelming factor driving the settlement negotiations. Counsel for the Trustee

 performed diligent review of financial records provided by Schuchmann. Schuchmann

 provided unaudited personal financial statements, account statements, and other

 evidence as to his financial status. In addition, Schuchmann provided a sworn affidavit

 as to his financial condition (“Financial Disclosure Affidavit”) (due to the confidential

 financial information, the Financial Disclosure Affidavit is redacted from the Settlement

 Agreement filed with this Motion). The Trustee relied on the representations in the

 Financial Disclosure Affidavit, and undertook to protect the interests of the Debtor’s

 estate in the event of material omissions or misrepresentations contained in the

 Financial Disclosure Affidavit. To that end, Section 8 of the Settlement Agreement

 nullifies and voids the Settlement Agreement if the Trustee discovers that Schuchmann

 has made a fraudulent or otherwise a material misrepresentation concerning his

 financial position.

        12.    In accordance with the terms of the Plan, the Settlement Amount shall

 become part of the Recovery Fund (as that term is defined in the Estate’s confirmed

 Chapter 11 Plan).

        13.    The Trustee requests that the Court approve the compromise and

 settlement of claims between the Trustee and Schuchmann pursuant to the terms and

 conditions set forth in the Settlement Agreement. The Trustee is seeking court approval
Case 10-93904-BHL-11      Doc 2418     Filed 11/20/13    EOD 11/20/13 12:30:54        Pg 5 of 10




 of the Settlement Agreement because the Settlement Amount is less than the sum of

 the Estimated Net Exposure as approved by the Preference Protocol Order.

                                      Basis for Relief

        14.    Pursuant to Bankruptcy Rule 9019(a), this Court has authority to approve

 a compromise or settlement after notice and opportunity for a hearing. Under

 Bankruptcy Rule 9019, a bankruptcy court should approve a proposed compromise if it

 is fair and equitable and in the best interests of the estate. Protective Comm. for Indep.

 Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968); In re

 Doctors Hosp. of Hyde Park, Inc., 474 F.3d 421, 426 (7th Cir. 2007). The Seventh

 Circuit has offered the following guidance to courts in making such determinations:

               The linchpin of the “best interests of the estate” test is a
               comparison of the value of the settlement with the probable costs
               and benefits of litigating. Among the factors the court considers are
               the litigation's probability of success, complexity, expense,
               inconvenience, and delay, “including the possibility that
               disapproving the settlement will cause wasting of assets.”

       In re Doctors Hosp. of Hyde Park, Inc., 474 F.3d at 426 (citations omitted).

        15.    The Trustee believes that the compromise and settlement reflected in the

 proposed Settlement Agreement is fair and equitable and in the best interests of the

 estate. It is the Trustee’s view that the estate would incur significant costs and

 expenses in litigating the claims against Schuchmann. Ultimately, and in reliance on

 the financial statements, the Financial Disclosure Affidavit, other records and evidence

 produced, and the Trustee’s counsel’s own investigation, the Trustee believes that the

 Settlement Amount represents the highest amount that the Trustee could recover and

 collect from Schuchmann when factoring in the costs of litigation and the financial

 condition of Schuchmann.
Case 10-93904-BHL-11       Doc 2418     Filed 11/20/13   EOD 11/20/13 12:30:54      Pg 6 of 10




        16.    If no objections to this Settlement Motion are filed, the Parties request that

 the Court enter an order approving the Settlement Agreement. If any objections to this

 Settlement Motion are filed, the parties request that this Settlement Motion and any

 timely filed objection be scheduled for hearing by the Court on the earliest date that is

 available and convenient to the Court

        WHEREFORE, the Trustee respectfully requests that the Court enter an order

 approving the Settlement Agreement attached hereto as Exhibit “A” and grant the

 Trustee all other just and proper relief.

                                             Respectfully submitted,

                                             KROGER, GARDIS & REGAS, LLP

                                             By: /s/ Jay P. Kennedy
                                             Jay P. Kennedy (#5477-49)
                                             Counsel for James A. Knauer,
                                             Chapter 11 Trustee
                                             111 Monument Circle, Suite 900
                                             Indianapolis, IN 46204-5125
                                             Telephone: (317) 777-7428
                                             jpk@kgrlaw.com
Case 10-93904-BHL-11                 Doc 2418    Filed 11/20/13          EOD 11/20/13 12:30:54           Pg 7 of 10




                                         CERTIFICATE OF SERVICE

         I hereby certify that on November 20, 2013, a copy of the foregoing pleading was
 filed electronically. Notice of this filing will be sent to the following parties through the
 Court's Electronic Case Filing System. Parties may access this filing through the
 Court's system.
 David L. Abt davidabt@mwt.net            James M. Carr                          Shawna M Eikenberry
                                          jim.carr@faegrebd.com,                 shawna.eikenberry@faegrebd.com,
 Amelia Martin Adams                      sarah.herendeen@faegrebd.com;be        sarah.herendeen@faegrebd.com
 aadams@dlgfirm.com,                      cky.turner@faegrebd.com
 dlgecf@dlgfirm.com;dlgecfs@gmail.c                                              Shawna M Eikenberry
 om                                       John R. Carr jrciii@acs-law.com,       shawna.eikenberry@faegrebd.com,
                                          sfinnerty@acs-law.com                  sarah.herendeen@faegrebd.com
 John W Ames james@bgdlegal.com,
 smays@bgdlegal.com;tmills@bgdleg         Deborah Caruso                         Jeffrey R. Erler jerler@ghjhlaw.com,
 al.com                                   dcaruso@daleeke.com,                   lbell@ghjhlaw.com;ldelcore@ghjhla
                                          mtheisen@daleeke.com                   w.com
 Kay Dee Baird kbaird@kdlegal.com,
 pdidandeh@kdlegal.com                    Ben T. Caughey                         William K. Flynn
                                          ben.caughey@icemiller.com              wkflynn@strausstroy.com,
 Christopher E. Baker                                                            fmtuttle@strausstroy.com;rlshapiro@
 cbaker@thbklaw.com,                      Bret S. Clement bclement@acs-          strausstroy.com
 thignight@thbklaw.com;twilkerson@t       law.com, sfinnerty@acs-law.com
 hbklaw.com                                                                      William K. Flynn
                                          Joshua Elliott Clubb                   wkflynn@strausstroy.com,
 Robert A. Bell rabell@vorys.com,         joshclubb@gmail.com                    fmtuttle@strausstroy.com;rlshapiro@
 dmchilelli@vorys.com                                                            strausstroy.com
 C. R. Bowles                             Jason W. Cottrell
 cbowles@bgdlegal.com,                    jwc@stuartlaw.com,                     Robert H. Foree
 smays@bgdlegal.com;cjenkins@bgd          jbr@stuartlaw.com                      robertforee@bellsouth.net
 legal.com
                                          Kirk Crutcher kcrutcher@mcs-           Sandra D. Freeburger
 David W. Brangers                        law.com, jparsons@mcs-law.com          sfreeburger@dsf-atty.com,
 dbrangers@lawyer.com                                                            mbaker@dsf-atty.com
                                          Jack S Dawson
 Steven A. Brehm                          jdawson@millerdollarhide.com,          Sandra D. Freeburger
 sbrehm@bgdlegal.com,                     jseeger@millerdollarhide.com;recepti   sfreeburger@dsf-atty.com,
 bbaumgardner@bgdlegal.com;smay           onist@millerdollarhide.com;chall@mi    mbaker@dsf-atty.com
 s@bgdlegal.com                           llerdollarhide.com
                                                                                 Peter M Gannott
 Steven A. Brehm                          Dustin R. DeNeal                       pgannott@gannottlaw.com,
 sbrehm@bgdlegal.com,                     dustin.deneal@faegrebd.com,            paralegal@gannottlaw.com;gannottl
 bbaumgardner@bgdlegal.com;smay           sandy.engle@faegrebd.com;sarah.h       aw@gmail.com
 s@bgdlegal.com                           erendeen@faegrebd.com
                                                                                 Melissa S. Giberson
 Kent A Britt kabritt@vorys.com,          Dustin R. DeNeal                       msgiberson@vorys.com
 cbkappes@vorys.com;dfhine@vorys          dustin.deneal@faegrebd.com,
 .com;tbfinney@vorys.com                  sandy.engle@faegrebd.com;sarah.h       Thomas P Glass
                                          erendeen@faegrebd.com                  tpglass@strausstroy.com
 Kayla D. Britton
 kayla.britton@faegrebd.com,              Laura Day DelCotto                     Jeffrey J. Graham
 cindy.wondra@faegrebd.com;sarah.         ldelcotto@dlgfirm.com,                 jgraham@taftlaw.com,
 herendeen@faegrebd.com                   dlgecf@dlgfirm.com;dlgecfs@gmail.c     ECFClerk@taftlaw.com;dwineinger
                                          om                                     @taftlaw.com;aolave@taftlaw.com
 Joe Lee Brown
 Joe.Brown@Hardincounty.biz               David Alan Domina                      Jeffrey J. Graham
                                          dad@dominalaw.com,                     jgraham@taftlaw.com,
 Lisa Koch Bryant                         KKW@dominalaw.com;efiling@domi         ECFClerk@taftlaw.com;dwineinger
 courtmail@fbhlaw.net                     nalaw.com                              @taftlaw.com;aolave@taftlaw.com

 John R. Burns                            Daniel J. Donnellon                    Patrick B Griffin
 john.burns@faegrebd.com,                 ddonnellon@ficlaw.com,                 patrick.griffin@kutakrock.com,
 sandy.rhoads@faegrebd.com;oliana.        knorwick@ficlaw.com                    stephanie.brockman@kutakrock.com
 nansen@faegrebd.com
                                          Trevor L. Earl tearl@rwsvlaw.com       Terry E. Hall
                                                                                 terry.hall@faegrebd.com,
Case 10-93904-BHL-11                 Doc 2418    Filed 11/20/13             EOD 11/20/13 12:30:54           Pg 8 of 10



 sharon.korn@faegrebd.com;sarah.h         Scott R Leisz sleisz@bgdlegal.com,        Terrill K. Moffett
 erendeen@faegrebd.com                    disom@bgdlegal.com                        kendalcantrell@moffettlaw.com

 Paul M. Hoffmann                         Elliott D. Levin robin@rubin-levin.net,   Christie A. Moore cm@gdm.com,
 phoffmann@stinson.com                    edl@trustesolutions.com;edl@truste        ljs2@gdm.com
                                          solutions.net
 John David Hoover                                                                  Allen Morris amorris@stites.com,
 jdhoover@hooverhull.com                  Elliott D. Levin edl@rubin-levin.net,     dgoodman@stites.com
                                          atty_edl@trustesolutions.com
 John Huffaker                                                                      Allen Morris amorris@stites.com,
 john.huffaker@sprouselaw.com,            Elliott D. Levin edl@rubin-levin.net,     dgoodman@stites.com
 lynn.acton@sprouselaw.com;rhonda.        atty_edl@trustesolutions.com
 rogers@sprouselaw.com                                                              Judy Hamilton Morse
                                          Kim Martin Lewis                          judy.morse@crowedunlevy.com,
 Jeffrey L Hunter                         kim.lewis@dinslaw.com,                    ecf@crowedunlevy.com;karen.martin
 jeff.hunter@usdoj.gov,                   lisa.geeding@dinslaw.com;patrick.bu       @crowedunlevy.com;karol.brown@c
 USAINS.ECFBankruptcy@usdoj.gov           rns@dinslaw.com                           rowedunlevy.com

 Jay Jaffe jay.jaffe@faegrebd.com,        James B. Lind jblind@vorys.com            Erin Casey Nave
 sarah.herendeen@faegrebd.com                                                       enave@taftlaw.com,
                                          Karen L. Lobring lobring@msn.com          ecfclerk@taftlaw.com;aolave@taftla
 Jay Jaffe jay.jaffe@faegrebd.com,                                                  w.com
 sarah.herendeen@faegrebd.com             John Hunt Lovell john@lovell-
                                          law.net, sabrina@lovell-                  Erin Casey Nave
 James Bryan Johnston                     law.net;shannon@lovell-                   enave@taftlaw.com,
 bjtexas59@hotmail.com,                   law.net;paula@lovell-law.net              ecfclerk@taftlaw.com;aolave@taftla
 bryan@ebs-law.net                                                                  w.com
                                          John Hunt Lovell john@lovell-
 Todd J. Johnston                         law.net, sabrina@lovell-                  Matthew Daniel Neumann
 tjohnston@mcjllp.com                     law.net;shannon@lovell-                   mneumann@hhclaw.com
                                          law.net;paula@lovell-law.net
 Jill Zengler Julian                                                                Walter Scott Newbern
 Jill.Julian@usdoj.gov                    Harmony A Mappes                          wsnewbern@msn.com
                                          harmony.mappes@faegrebd.com,
 Edward M King tking@fbtlaw.com,          sarah.herendeen@faegrebd.com              Walter Scott Newbern
 dgioffre@fbtlaw.com                                                                wsnewbern@msn.com
                                          Harmony A Mappes
 James A. Knauer jak@kgrlaw.com,          harmony.mappes@faegrebd.com,              Shiv Ghuman O'Neill
 tjf@kgrlaw.com                           sarah.herendeen@faegrebd.com              shiv.oneill@faegrebd.com,
                                                                                    amanda.castor@faegrebd.com
 James A. Knauer jak@kgrlaw.com,          John Frederick Massouh
 tjf@kgrlaw.com                           john.massouh@sprouselaw.com               Shiv Ghuman O'Neill
                                                                                    shiv.oneill@faegrebd.com,
 Erick P Knoblock                         Michael W. McClain                        amanda.castor@faegrebd.com
 eknoblock@daleeke.com,                   mmcclain@mcclaindewees.com,
 dwright@daleeke.com                      larmstrong@mcclaindewees.com              Matthew J. Ochs
                                                                                    kim.maynes@moyewhite.com
                                          Kelly Greene McConnell
 Theodore A Konstantinopoulos             lisahughes@givenspursley.com              Jessica Lynn Olsheski
 ndohbky@jbandr.com                                                                 jessica.olsheski@justice-law.net,
                                          James Edwin McGhee                        julie.streich@justice-law.net
 Randall D. LaTour                        mcghee@derbycitylaw.com,
 RDLatour@vorys.com,                                                                Michael Wayne Oyler
 khedwards@vorys.com;bjtobin@vor          SeillerWatermanBankruptcymyecf@           moyler@rwsvlaw.com
 ys.com                                   gmail.com;belliott@derbycitylaw.com
                                          ;patenaude@derbycitylaw.com;canto         Ross A. Plourde
 David A. Laird                           r@derbycitylaw.com                        ross.plourde@mcafeetaft.com,
 david.laird@moyewhite.com,                                                         afton.shaw@mcafeetaft.com
 lisa.oliver@moyewhite.com;deanne.        Brian H Meldrum
 stoneking@moyewhite.com                  bmeldrum@stites.com                       Brian Robert Pollock
                                                                                    bpollock@stites.com
 David L. LeBas                           William Robert Meyer
 dlebas@namanhowell.com,                  rmeyer@stites.com
 koswald@namanhowell.com                                                            Brian Robert Pollock
                                          Kevin J. Mitchell                         bpollock@stites.com
 Martha R. Lehman                         kevin.mitchell@faegrebd.com,
 mlehman@kdlegal.com,                     cyndy.maucher@faegrebd.com;olian          Wendy W Ponader
 crbpgpleadings@kdlegal.com;brequ         a.nansen@faegrebd.com                     wendy.ponader@faegrebd.com,
 enes@kdlegal.com                                                                   sarah.herendeen@faegrebd.com
Case 10-93904-BHL-11                   Doc 2418    Filed 11/20/13           EOD 11/20/13 12:30:54           Pg 9 of 10



 Wendy W Ponader                            Thomas C Scherer                        Chrisandrea L. Turner
 wendy.ponader@faegrebd.com,                tscherer@bgdlegal.com,                  clturner@stites.com
 sarah.herendeen@faegrebd.com               mmcclain@bgdlegal.com
                                                                                    U.S. Trustee
 Timothy T. Pridmore                        Stephen E. Schilling                    ustpregion10.in.ecf@usdoj.gov
 tpridmore@mcjllp.com,                      seschilling@strausstroy.com
 lskibell@mcjllp.com                                                                Andrew James Vandiver
                                            Ivana B. Shallcross                     avandiver@aswdlaw.com,
 Anthony G. Raluy traluy@fbhlaw.net         ishallcross@bgdlegal.com,               sgoins@aswdlaw.com;jrobb@aswdl
                                            smays@bgdlegal.com;tmills@bgdleg        aw.com
 Eric C Redman                              al.com;acoates@bgdlegal.com
 ksmith@redmanludwig.com,                                                           Andrew James Vandiver
 kzwickel@redmanludwig.com;myecf            Ivana B. Shallcross                     avandiver@aswdlaw.com,
 mailrl@gmail.com                           ishallcross@bgdlegal.com,               sgoins@aswdlaw.com;jrobb@aswdl
                                            smays@bgdlegal.com;tmills@bgdleg        aw.com
 Eric C Redman                              al.com;acoates@bgdlegal.com
 ksmith@redmanludwig.com,                                                           Andrea L Wasson
 kzwickel@redmanludwig.com;myecf            Suzanne M Shehan                        andrea@wassonthornhill.com
 mailrl@gmail.com                           suzanne.shehan@kutakrock.com,
                                            nancy.johnson@kutakrock.com;joy.l       Jennifer Watt jwatt@kgrlaw.com,
 Eric W. Richardson                         ehnert@kutakrock.com                    tjf@kgrlaw.com
 ewrichardson@vorys.com,
 bjtobin@vorys.com                          James E. Smith                          Jennifer Watt jwatt@kgrlaw.com,
                                            jsmith@smithakins.com,                  tjf@kgrlaw.com
 Joe T. Roberts                             legalassistant@smithakins.com
 jratty@windstream.net                                                              Stephen A. Weigand
                                            William E Smith wsmith@k-               sweigand@ficlaw.com
 David Cooper Robertson                     glaw.com, pballard@k-glaw.com
 crobertson@stites.com,                                                             Charles R. Wharton
 docketclerk@stites.com                     Amanda Dalton Stafford                  Charles.R.Wharton@usdoj.gov,
                                            ads@kgrlaw.com, jli@kgrlaw.com          Charles.R.Wharton@usdoj.gov
 Mark A. Robinson
 mrobinson@vhrlaw.com                       Amanda Dalton Stafford                  Sean T. White
                                            ads@kgrlaw.com, jli@kgrlaw.com          swhite@hooverhull.com,
 Mark A. Robinson                                                                   vwilliams@hooverhull.com
 mrobinson@vhrlaw.com                       Robert K Stanley
                                            robert.stanley@FaegreBD.com             Michael Benton Willey
 Jeremy S Rogers                                                                    michael.willey@ag.tn.gov
 Jeremy.Rogers@dinslaw.com                  Joshua N. Stine kabritt@vorys.com
                                                                                    Jason P Wischmeyer
 John M. Rogers johnr@rubin-                Andrew D Stosberg                       jason@wischmeyerlaw.com,
 levin.net, susan@rubin-                    astosberg@lloydmc.com,                  tammy@wischmeyerlaw.com
 levin.net;atty_rogers@bluestylus.co        bmarks@lloydmc.com
 m                                                                                  Chad Duane Wuertz
                                            Matthew R. Strzynski                    chad@wuertzlaw.com,
 John M. Rogers johnr@rubin-                indyattorney@hotmail.com,               joe@wuertzlaw.com;zach@wuertzla
 levin.net, susan@rubin-                    mattstrzynski@mac.com                   w.com;michele@wuertzlaw.com;wen
 levin.net;atty_rogers@bluestylus.co                                                dy@wuertzlaw.com
 m                                          Meredith R. Theisen
                                            mtheisen@daleeke.com                    Chad Duane Wuertz
 Joseph H Rogers                                                                    chad@wuertzlaw.com,
 jrogers@millerdollarhide.com,              John M. Thompson                        joe@wuertzlaw.com;zach@wuertzla
 cdow@millerdollarhide.com                  john.thompson@crowedunlevy.com,         w.com;michele@wuertzlaw.com;wen
                                            jody.moore@crowedunlevy.com             dy@wuertzlaw.com
 James E Rossow jim@rubin-
 levin.net, susan@rubin-                    Kevin M. Toner                          Jessica E. Yates jyates@swlaw.com,
 levin.net;ATTY_JER@trustesolutions         kevin.toner@faegrebd.com,               docket_den@swlaw.com;mmccleery
 .com                                       judy.ferber@faegrebd.com;crystal.ha     @swlaw.com
                                            nsen@faegrebd.com
 Steven Eric Runyan                                                                 James T Young james@rubin-
 ser@kgrlaw.com                             Kevin M. Toner                          levin.net, lking@rubin-
                                            kevin.toner@faegrebd.com,               levin.net;kim@rubin-
 Niccole R. Sadowski                        judy.ferber@faegrebd.com;crystal.ha     levin.net;atty_young@bluestylus.co
 nsadowski@thbklaw.com,                     nsen@faegrebd.com                       m
 btaylor@thbklaw.com;twilkerson@th
 bklaw.com                                  Christopher M. Trapp ctrapp@rubin-
                                            levin.net, lking@rubin-levin.net
Case 10-93904-BHL-11   Doc 2418   Filed 11/20/13   EOD 11/20/13 12:30:54   Pg 10 of 10




                                      /s/ Jay P. Kennedy
                                      Jay P. Kennedy, Attorney No. 5477-49
                                      Counsel for James A. Knauer, Trustee

  KROGER, GARDIS & REGAS, LLP
  111 Monument Circle, Suite 900
  Indianapolis, Indiana 46204-5125
  (317) 692-9000 Telephone
